Case 3:22-cv-01302-RSH-DEB Document 1-2 Filed 09/01/22 PageID.9 Page 1 of 20




                          EXHIBIT A
          Case 3:22-cv-01302-RSH-DEB Document 1-2 Filed 09/01/22 PageID.10 Page 2 of 20




                                                                                                                        LDD / ALL
                                                                                                     Transmittal Number: 25323593
Notice of Service of Process                                                                            Date Processed: 08/03/2022

Primary Contact:           Ms. Lynn Radliff
                           Amazon.Com, Inc.
                           440 Terry Ave N
                           Seattle, WA 98109-5210

Electronic copy provided to:                   Maria Catana
                                               Luana Kooker
                                               Karen Curtis
                                               Lynn Foley-Jefferson
                                               Vivian Ching
                                               Kimberly Thomas
                                               Lizette Fernandez
                                               Theresa Nixon
                                               Stephanie Habben
                                               Lacy O'Block
                                               Arianna Smogard
                                               Sara Rawson
                                               Rochelle Lewis

Entity:                                       Amazon.com, Inc.
                                              Entity ID Number 1662773
Entity Served:                                Amazon.com, Inc.
Title of Action:                              Helen Tesfa vs. Amazon.Com, Inc.
Matter Name/ID:                               Helen Tesfa vs. Amazon.Com, Inc. (12645545)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Personal Injury
Court/Agency:                                 San Diego County Superior Court, CA
Case/Reference No:                            37-2022-00018349-CU-PL-CTL
Jurisdiction Served:                          Delaware
Date Served on CSC:                           08/03/2022
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Hayes Law, APC
                                              858-737-3311
Client Requested Information:                 Amazon Case Type: Product Liability

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constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

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      Case 3:22-cv-01302-RSH-DEB Document 1-2 Filed 09/01/22 PageID.11 Page 3 of 20



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Case 3:22-cv-01302-RSH-DEB Document 1-2 Filed 09/01/22 PageID.12 Page 4 of 20




 1   Jillian F. Hayes, SBN 297536
     Jillian@HayesLawSD.cona                                     ELECTFi;0'FJ1C'ALL'~,.FILED
 2   HAYES LAW, APC
     4231 Balboa Avenue, #1380
                                                                       ~~2022 a~t 1r] 20:11~::+~1u1.:
 3   San Diego, CA 92117                                                                     :
     Telephone: (858) 737-3311
 4   Facsimile: (858) 221-4064                                 ~~ u~rie~'sa 5azer~41,~1ep~~.~lerk:.

 5   Attorneys for Plaintiffs
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 7

 8                SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9                    COUNTY OF SAN DIEGO, CENTRAL DIVISION
10

11    HELEN TESFA, an individual,              CASE NO.:      sr-2022-0uo1s:49-cu-PL-cTL
12
                                Plaintiff,
13                                             COMPLAINT FOR DAMAGES FOR
14    V.                                       PERSONAL INJURIES AND DEMAND
                                               FOR JURY TRIAL
15
      AMAZON.COM, INC., a corporation,
16    and Does 1 through 10,

17                              Defendants.
18

19          COME NOW the Plaintiff Helen Tesfa, for causes of action against the
20   Defendants, complains and alleges as follows:
21                                       INTRODUCTION
22         Loyal Amazon.com, Inc. member, Plaintiff Helen Tesfa purchased the YIANNA
23   Womens Waist Trainer from Amazon.com, Inc. that proved to be defective when after
24   the first use it damaged and severely irritated her skin leaving her with unsightly
25   discoloration and scarring around her stomach. A product advertised to assist with her
26   health and beauty regimen did the exact opposite and traumatized her in the process.
27   Amazon knows products like this pose risks but took no action to inspect the product
28   nor remedy the issue. Instead, they turned a blind eye and continued to profit off yet
                                                                                                 Page 1
                          PLAINTIFF' S COMPLAINT FOR DAMAGES FOR PERSONAL
                                1NJURTES AND DEMAND FOR JURY TRIAL
Case 3:22-cv-01302-RSH-DEB Document 1-2 Filed 09/01/22 PageID.13 Page 5 of 20




 1    another faulty and defective product.
  2         California strict products liability law aims to protect consumers from harm by
 3    holding companies accountable when they push dangerous products into the stream of
  4   commerce for profit. In that spirit, California courts now hold online retailers such as
 5    Defendant Amazon.com, Inc. ("Amazon") liable for harmful products sold through
  6   their website. See Bolger v. Amazon.com, LLC (2020) 53 Cal.App.5th 431, 438
  7   ("Whatever term we use to describe Amazon's role, be it `retailer,' `distributor,' or
 8    merely `facilitator,' it was pivotal in bringing the product here to the consumer.")
 9                          PARTIES, JURISDICTION, AND VENUE
10          1.     At all times relevant, Plaintiff Helen Tesfa was and is a resident of the
11    County of San Diego, State of California.
12          2.     At all times relevant, Defendant Amazon.com, Inc. ("Amazon") was a
13    Delaware corporation with its principal place of business in Seattle, Washington, and
14    was a business entity doing business in the State of California, County of San Diego.
15          3.     At all times relevant, Defendant Amazon.com, LLC, a corporation was and
16    is a business entity doing business in the State of California.
17          4.     Defendant Amazon.Com, LLC, was and is a corporation authorized to do,
18    and doing business in, the City of San Diego, County of San Diego, State of California.
19          5.     The true names and capacities, whether individual, corporate, associate, or
 20   otherwise, of defendants DOES 1 through 10, inclusive, are unknown to Plaintiff, who
 21   therefore sues said defendants by such fictitious names. Plaintiff is informed and
 22   believes and thereon alleges that each of the defendants herein designated as a DOE is
 23   responsible in some manner for the events herein referred to and caused injuries and
 24   damages as alleged.
 25         6.     Plaintiff is informed and believes and thereon alleges that at all times
 26   herein mentioned each of the Defendants was the agent, servant and/or employee of the
 27   remaining Defendants, and at all times herein mentioned, each was acting with the time,
 28   place and scope of said agency and employment.
                                                                                        Page 2
                          PLAINTIFF'S COMPLAINT FOR DAMAGES FOR PERSONAL
                                INJURIES AND DEMAND FOR JURY TRIAL
Case 3:22-cv-01302-RSH-DEB Document 1-2 Filed 09/01/22 PageID.14 Page 6 of 20




 1             7.                 At all times herein mentioned Defendants were acting as the ostensible
 2    agents of each and every other Defendant and were doing so at the behest of and with
 3    the approval of said Defendants. At all times herein relevant, Plaintiff reasonably and
 4    without negligence relied on the representations made by all Defendants about the
 5    agency and employment of the remaining Defendants to Plaintiff's detriment.
 6             8.                 As used throughout, "Product" or "Products" shall refer to the YIANNA
 7    Womens Waist Trainer purchased by Plaintiff Helen Tesfa from Defendant's Amazon's
 8    online marketplace on May 21, 2020.
 9                                                            FACTUAL BACKGROUND
10             9.                 On May 21, 2020, Plaintiff Helen Tesfa purchased the Yianna Womens
11    Waist Trainer from the Defendant after seeing thousands of positive reviews and the
12    Product being advertised as one of the top products in Women's Shapewear on
13    Amazon.com.
14       YIANNA Waist TrQwTier TrsyVM~,Men'a'urni-say Crsntra[ Underbust 25 Steet P<rrrted_.. .> r4u-stomer raviQws

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 22            10.                Plaintiff Helen Tesfa placed the product in her Amazon shopping cart and
 23   proceeded to Amazon's check out page. She paid Amazon for the purchase, received a
 24   confirmation email from Amazon for the purchase, and received the product directly to
 25   her home from Amazon on May 29, 2020.
 26            11.                Plaintiff Helen Tesfa did not have any contact with YIANNA at any time
 27   during the transaction.
 28

                                                                                                                                                       3
                                                 PLAINTIFF' S COMPLAINT FOR DAMAGES FOR PERSONAL
                                                       INJURIES AND DEMAND FOR JURY TRIAL
Case 3:22-cv-01302-RSH-DEB Document 1-2 Filed 09/01/22 PageID.15 Page 7 of 20




  1           12.     In all respects, Amazon was in the chain of distribution, was pivotal to the
  2    sale of the product, and was an integral part of the overall producing and manufacturing
  3    enterprise that supplied the product for use by consumers.
  4           13.     On May 29, 2020, the product arrived at Plaintiff Helen Tesfa's house in
 5     an Amazon package. The packaging for the Product had "High Quality" clearly
 6     advertised on the front.
 7            14.     The only warning for the Product was camouflaged on the back which read
 8     "Warning: Part of the product is made of latex rubber, which may cause allergic
 9     reactions. If you are allergic to latex or if you are not sure about this, please consult to
10     your doctor for instructions before usage." Plaintiff has used various latex products in
11     the past and has never had an allergic reaction to latex rubber.
12           15.      Ms. Tesfa removed the Product from the packaging and put the Product on
13     her waist as she went about her daily activities.
14 '         16.      Affter approximately four hours of wear, Ms. Tesfa removed the Product
15     from her waist and noticed an angry red itchy rash outlining the shape of the trainer
16     around her waist.
17           17.      Over the next few days, the rash around her entire waist grew and the itchy,
18     burning sensation intensified to the point she had to seek medical attention. She was
19     only able to wear loose
20     clothing that did not touch
21     her stomach.
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                            PLAINTIFF'S COMPLAINT FOR DAMAGES FOR PERSONAL
                                  1NJURIES AND DEMAND FOR JURY TRIAL
Case 3:22-cv-01302-RSH-DEB Document 1-2 Filed 09/01/22 PageID.16 Page 8 of 20




 1          18.       More than a year and a half after this incident, Plaintiff Helen Tesfa is still
  2   left with permanent scarring and discoloration on her abdomen.
  3         19.       Plaintiff Helen Tesfa continues to suffer from emotional trauma that has
  4   persisted since the incident.
  5                                   FIRST CAUSE OF ACTION
  6                                   (Negligent Product Liability)
  7         20.       Plaintiff incorporates each and every allegation above as though fully set
 8    forth herein.
  9         21.       Defendants Amazon was engaged in inspecting, vending, distributing,
10    advertising, seliing, or recommending for use to the general public, the Product.
11          22.       Defendants owed a duty of care to actual and potential customers and
12    consumers with respect to the Product. This duty includes but is not limited to:
13    designing, manufacturing, distributing, selling, facilitating the sale of, and providing
14    the Product in a fashion that was safe to consumers; packaging the Product safely so as
15    to reasonably minimize the potential for injury; labeling the Product so as to reasonably
16    warn consumers of the potential for danger; and reasonably applying knowledge and
17    information from past incidents, complaints, studies, observations, reports, experience,
18    or investigation to provide for the safety of consumers with respect to the products.
19          23.       Defendants knew or should have known that if the Product was not
 20   properly and safely manufactured, designed, tested, maintained, inspected, installed,
 21   assembled, delivered, molded, warned, and labeled prior to sale or distribution to
 22   consumers, it would, if used by any member of the general public, be a substantial factor
 23   in causing serious and permanent injury or death.
 24         24.       Defendants negligently and carelessly maintained, inspected, delivered,
 25   designed, molded, labeled, warned, tested, and sold the Product so that it was in a
 26   dangerous and defective condition and unsafe for the use and purposes for which it was
 27   intended.
 28

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                            PLAINTIFF' S COMPLAINT FOR DAMAGES FOR PERSONAL
                                  1NNRIES AND DEMAND FOR JURY TRIAL
Case 3:22-cv-01302-RSH-DEB Document 1-2 Filed 09/01/22 PageID.17 Page 9 of 20




  1          25.    The condition of the Product was known to Defendants or should have
  2   been discovered by them through the exercise of ordinary care and reasonable diligence
  3   but was not disclosed or made known to purchasers or users of the Product, including
  4   the Plaintiffs.
  5          26.    At all times herein mentioned, purchasers or users of the Product had no
  6   knowledge of the defective condition of the Product or of any danger in the use of the
  7   Product.
  $          27.    In doing the acts alleged in this complaint, Defendants violated statutes,
  9   rules, standards, regulations, or guidelines applicable to their conduct, including laws
 10   and regulations -relating to the manufacture, distribution, and sale of the Product and
 11   similar items.
 12          28.    The injuries and damages to Plaintiff Helen Tesfa described more fully
 13   above were a direct and legal result of the violations of the statutes, rules, regulations,
 14   standards, and guidelines by Defendants.
 15         29.     The statutes, regulations, standards, and guidelines violated by Defendants
 16   were drafted, written, and designed to prevent the type of incidents and injuries that
 17   occurred in this case, and Plaintiff Helen Tesfa is among the class of persons the
 18   statutes, regulations, standards, and guidelines were designed to protect.
 19         30.     As a direct and legal result of the negligence and carelessness of the
 20   Defendants, Plaintiff Helen Tesfa suffered severe shock and injuries to her person.
 21   Plaintiff Helen Tesfa was injured in her health, strength, and activity, all to her general
 22   damage in a sum which will be shown according to proof.
 23         31.    As a direct and legal result of the negligence and carelessness of the
 24   Defendants, Plaintiff Helen Tesfa has suffered difficulties sleeping and has fears and
 25   worries relating to her scarring.
 26         32.    As a further direct and legal result of the negligence and carelessness of
 27   the Defendants, Plaintiff Helen Tesfa was compelled to and did incur expenses for
 28   medical care, and other incidental expenses and will have to incur additional like
                                                                                         Page 6
                          PLAINTIFF' S COMPLAINT FOR DAMAGES FOR PERSONAL
                                INJURIES AND DEMAND FOR JURY TRIAL
Case 3:22-cv-01302-RSH-DEB Document 1-2 Filed 09/01/22 PageID.18 Page 10 of 20




  1   expenses in the future, all in amounts presently unknown to Plaintiff. Plaintiff therefore
  2   asks for leave of court either to amend this complaint so as to show the amount of the
  3   medical expenses, when ascertained, or to prove the amount at the time of trial.
  4             33.     As a direct and legal result of the negligence and carelessness of the
  5   Defendants, Plaintiff Helen Tesfa was disabled and may be disabled in the future and
  6   thereby be prevented from attending to the duties of Plaintiffs usual occupations.
  7   Plaintiff Helen Tesfa has therefore lost earnings and may continue to lose earnings in
  8   the future, all in amounts presently unknown. Plaintiff asks for leave of court either to
  9   amend this complaint to show the amount of lost earnings, when ascertained, or to prove
 10   the amount at the time of trial.
 11             34.    The negligence and carelessness of the Defendants was a substantial factor
 12   in causing the injuries and damages alleged above.
 13                                 SECOND CAUSE OF ACTION
 14                   (Strict Products Liability- Design and Manufacturing Defect)
 15             35.    Plaintiff hereby incorporates by reference each and every allegation
 16   articulated above as though fully set forth herein.
 17             36.    At the time that the Product left the control of the Defendants, the Product
 18   was dangerous and defective as a result of design, manufacture, alteration, or
 19   modification by the Defendants. The defects included, but are not limited to, materials
 20   that are unsafe for human skin contact, and/or materials not identified on the product
 21   itself.
 22             37.    At all times relevant, Defendants knew and intended that the Product
 23   would be purchased, used, and operated by members of the general public who would
 24   rely on Defendants to safely market and distribute the Product in a safe manner and to
 25   transmit any relevant warnings about the product.
 26             38.    At the time of the incident giving rise to this Complaint, the Product was
 27   being used in a manner and fashion that was foreseeable by the Defendants, in a manner
 28   in which the Product was intended to be used.
                                                                                           Page 7
                             PLAINTIFF' S COMPLAINT FOR DAMAGES FOR PERSONAL
                                   INJURIES AND DEMAND FOR JURY TRIAL
Case 3:22-cv-01302-RSH-DEB Document 1-2 Filed 09/01/22 PageID.19 Page 11 of 20




  1          39.      Defendants knew or should have known their manufacture or design of the
  2   Product was defective, causing the Product to fail to perform as safely as an ordinary
  3   consumer would expect when used in an intended or reasonably foreseeable manner.
  4          40.      In addition, the risks inherent in the design of the Product outweigh any
  5   benefits of that design.
  6          41.      As a legal result of the aforementioned dangerous and defective condition
  7   of the Product, Plaintiff Helen Tesfa was injured and suffered damages as alleged above.
  8                                 THIRD CAUSE OF ACTION
  9           (Strict Product Liability — Failure to Warn of Defective Condition)
 10          42.      Plaintiff incorporates each and every allegation above as though fully set
 11   forth herein.
 12          43.      The Product was in a dangerous and defective condition when introduced
 13   into the stream of commerce by the Defendants. The Product was so defective that when
 14   used in a way that was reasonably foreseeable, the potential risks of the Product created
 15   a substantial danger to users of the Product and others and could and would cause those
 16   serious injuries.
 17         44.       The Product had potential risks, including burning and permanently
 18   scarring skin, that were known or knowable by the use of scientific knowledge available
 19   at the time of the manufacture, distribution, and sale of the Product. Defendants knew,
 20   or in the exercise of reasonable care, should have known that the potential or inherent
 21   risks presented a substantial danger to users of the Product because defendant possessed
 22   special knowledge of the materials, design, character, and assemblage of the Product.
 23   Plaintiff and ordinary consumers would neither recognize, nor have knowledge that the
 24   Product was dangerous and defective.
 25         45.       Although possessed of special knowledge of the potential risks and
 26   substantial danger to users of the Product and others, Defendants failed to adequately
 27   warn or instruct of the potential risks and dangerous and defective conditions of the
 28   Product.
                                                                                        Page 8
                            PLAINTIFF'S COMPLAINT FOR DAMAGES FOR PERSONAL
                                  INJURIES AND DEMAND FOR JURY TRIAL
Case 3:22-cv-01302-RSH-DEB Document 1-2 Filed 09/01/22 PageID.20 Page 12 of 20




  1         46.    Plaintiff was harmed and suffered the injuries and damages alleged above
  2   as a result of Defendants' failure to adequately warn. The lack of sufficient warning or
  3   instructions was a substantial factor in causing Plaintiffs harms.
  4                                          DAMAGES
  5         WHEREFORE, Plaintiff Helen Tesfa prays for judgment against the
  6         Defendants as follows:
  7         1.     For general damages according to proof;
  8         2.     For special damages according to proof;
  9         3.     For loss of earnings, medical expenses, and all incidental expenses
 10   according to proof;
 11         4.     For interest from the date of accident to the time of judgment
 12         5.     For costs of suit incurred herein; and
 13         6.     For such other and further relief as the court may deem just and proper.
 14                              DEMAND FOR JURY TRIAL
 15         NOTICE IS HEREBY GIVEN that Plaintiffs hereby demand trial by jury in the
 16   above-captioned matter.
 17

 18    Dated: May 12, 2022                  HAYES LAW, APC
 19

 20                                         By: s/Jillian F. Hayes
                                                JILLIAN F. HAYES
 21                                             Attorneys for Plaintiff
 22

 23

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                                                                                     Page 9
                         PLAINTIFF' S COMPLAINT FOR DAMAGES FOR PERSONAL
                               INJURIES AND DEMAND FOR JURY TRIAL
   Case 3:22-cv-01302-RSH-DEB Document 1-2 Filed 09/01/22 PageID.21 Page 13 of 20


SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
STREETADDRESS:       330 W Broadway
MAILING ADDRESS:     330 W Broadway
CITY AND ZIP CODE:   San Diego, CA 92101,3827
DIVISION:            Central
TELEPHONE NUMBER: (619)450-7071


PLAINTIFF(S) / PETITIONER(S):              Helen Tesfa

DEFENDANT(S) / RESPONDENT(S): Amazon.com Inc


 TESFA VS AMAZON.COM INC [IMAGED]
                                                                                              CASE NUMBER:
NOTICE OF CASE ASSIGNMENT AND CASE MANAGEMENT CONFERENCE
                           (CI VIL)                                                           37-2022-00018349-CU-PL-CTL


CASE ASSIGNED FOR ALL PURPOSES TO:
Judge: Gregory W Pollack                                                             Department: C-71


COMPLAINT/PETITION FILED: 05/13/2022


TYPE OF HEARING SCHEDULED                            DATE         TIME             DEPT               JUDGE
Civil Case Management Conference                     10/14/2022   01:30 pm         C-71               Gregory W Pollack


Due to the COVID-19 pandemic, all Case Management Conferences (CMCs) are being conducted virtually unless there is a
coun: order stating otherwise. Prior to the hearing date, visit the "virtual hearings" page for the most current instructions on how to
appear for the applicable case-type/department on the court's website at www.sdcourt.ca.00v.

A Case Management Statement (JC Form #CM-110) must be completed by counsel for all parties and by all self-represented litigants
and timely filed with the court at least 15 days prior to the initial CMC. (San Diego Superior Court (SDSC) Local Rules, rule 2.1.9; Cal.
Rules of Court, rule 3.725).

AII counsel of record and self-represented litigants must appear at the CMC, be familiar with the case, and be fully prepared to
participate effectively in the hearing, including discussions of Alternative Dispute Resolution (ADR) options.

It is the duty of each plaintiff (and cross-complainant) to serve a copy of this Notice of Case Assignment and Case Management
Conference (SDSC Form #CIV-721) with the complaint (and cross-complaint), the Alternative Dispute Resolution (ADR) Information
Form (SDSC Form # CIV-730), a Stipulation to Use Alternative Dispute Resolution (ADR) (SDSC Form # CIV-359), and other
documents on all parties to the action as set out in SDSC Local Rules, rule 2.1.5.
TIME FOR SERVICE AND RESPONSE: The following rules apply to civil cases except for collections cases under California Rules of
Court, rule 3.740(a), unlawful detainer actions, proceedings under the Family Code, and other proceedings for which different service
requirements are prescribed by law (Cal. Rules of Court, rule 3.110; SDSC Local Rules, rule 2.1.5):
   • Service: The complaint must be.served on all named defendants, and proof of service filed with.the court within 60 days after
      filing the complaint. An amended complaint adding a defendant must be served on the added defendant and proof of service
      filed within 30 days after filing of the amended complaint. A cross-complaint against a party who has appeared in the action
      must be accompanied by proof of service on that party at the time it is filed. If it adds a new party, the cross-complaint must be
      served on all parties and proof of service on the new party must be filed within 30 days of the filing of the cross-complaint.
   • Defendant's appearance: Unless a special appearance is made, each defendant served must generally appear (as defined in
      Code of Civ. Proc. § 1014) within 30 days of service of the complaint/cross-complaint.
   • Extensions: The parties may stipulate without leave of court to one 15-day extension beyond the 30-day time period prescribed
      for the response after service of the initial complaint (SDSC Local Rules, rule 2.1.6). If a party fails to serve and file pleadings
      as required under this rule, and has not obtained an order extending time to serve its pleadings, the court may issue an order to
      show cause why sanctions shall not be imposed.

JURY FEES: In order to preserve the right to a jury trial, one party for each side demanding a jury trial shall pay an advance jury fee in
the amount of one hundred fifty dollars ($150) on or before the date scheduled for the initial case management conference in the
action.

COURT REPORTERS: Official Court Reporters are not normally available in civil matters, but may be requested in certain situations
no later than 10 days before the hearing date. See SDSC Local Rules, rule 1.2.3 and Policy Regarding Normal Availability and
Unavailability of Official Court Reporters (SDSC Form #ADM-317) for further information.

ALTERNATIVE DISPUTE RESOLUTION (ADRh The court discourages any unnecessary delay in civil actions; therefore,
continuances are discouraged and timely resolution of all actions, including submitting to any form of ADR is encouraged. The court
encourages and expects the parties to consider using ADR options prior to the CMC. The use of ADR will be discussed at the CMC.
Prior to the CMC, parties stipulating to the ADR process may file the Stipulation to Use Alternative Dispute Resolution (SDSC Form
#CIV-359).

SDSC CIV-721 (Rev. 04-21)                                                                                                       Page: 1
                                  NOTICE OF CASE ASSIGNMENT AND CASE MANAGEMENT CONFERENCE
                                                             (CIVIL)
    Case 3:22-cv-01302-RSH-DEB Document 1-2 Filed 09/01/22 PageID.22 Page 14 of 20




                                         NOTICE OF E-FILING REQUIREMENTS
                                             AND IMAGED DOCUMENTS


Effective April 15, 2021, e-filing is required for attorneys in represented cases in all limited and unlimited civil cases, pursuant to the San
Diego Superior Court General Order: In Re Procedures Regarding Electronically Imaged Court Records, Electronic Filing and Access to
Electronic Court Records in Civil and Probate Cases. Additionally, you are encouraged to review CIV-409 for a listing of documents that
are not eligible for e-filing. E-filing is also encouraged, but not mandated, for self-represented litigants, unless otherwise ordered by the
court. AII e-filers are required to comply with the e-filing requirements set forth in Electronic Filing Requirements (Civil) (SDSC Form
#CIV-409) and Cal. Rules of Court, rules 2.250-2.261.

AII Civil cases are assigned to departments that are part of the court's "Imaging Program." This means that original documents filed with
the court will be imaged, held for 30 days, and then destroyed, with the exception of those original documents the court is statutorily
required to maintain. The electronic copy of the filed document(s) will be the official court record, pursuant to Government Code § 68150.
Thus, original documents should not be attached to pleadings filed with the San Diego Superior Court, unless it is a document for which
the law requires an original be filed. Any original documents necessary for a motion hearing or trial shall be lodged in advance of the
hearing pursuant to California Rules of Court, rule 3.1302(b).

It is the duty of each plaintiff, cross-complainant, or petitioner to serve a copy of this Notice of Case Assignment and Case Management
Conference (Civil) (SDSC Form #CIV-721) with the complaint, cross-complaint, or petition on all parties to the action.

On all pleadings filed after the initial case originating filing, all parties must, to the extent it is feasible to do so, place the words "IMAGED
FILE" in all caps immediately under the title of the pleading on all subsequent pleadings filed in the action.

The official court file will be electronic and accessible at one of the kiosks located in the Civil Business Office and may be found on the
court's website at www.sdcourt.ca.gov.




                                                                                                                                        Page: 2
    Case 3:22-cv-01302-RSH-DEB Document 1-2 Filed 09/01/22 PageID.23 Page 15 of 20


                                             -SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO

   A.
                      }                 `       ALTERNATIVE DISPUTE RESOLUTION (ADR) INFORMATION
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CASE NUMBER: 37-2022-00018349-CU-PL-CTL                                CASE TITLE: Tesfa vs Amazon.com Inc [IMAGED]


NOTICE: AII plaintifFs/cross-complainants in a general civil case are required to serve a copy of the following
three forms on each defendant/cross-defendant, together with the complaint/cross-complaint:
                                    (1) this Alternative Dispute Resolution (ADR) Information form (SDSC form #CIV-730),
                                    (2) the Stipulation to Use Alternative Dispute Resolution (ADR) form (SDSC form #CIV-359), and
                                    (3) the Notice of Case Assignment form (SDSC form #CIV-721).

Most civil disputes are resolved without filing a lawsuit, and most civil lawsuits are resolved without a trial. The courts,
community organizations, and private providers offer a variety of Alternative Dispute Resolution (ADR) processes to help
people resolve disputes without a trial. The San Diego Superior Court expects that litigants will utilize some form of ADR
as a mechanism for case settlement before trial, and it may be beneficial to do this early in the case.

Below is some information about the potential advantages and disadvantages of ADR, the most common types of ADR,
and how to find a local ADR program or neutral. A form for agreeing to use ADR is attached (SDSC form #CIV-359).

Potential Advantages and Disadvantages of ADR
ADR may have a variety of advantages or disadvantages over a trial, depending on the type of ADR process used and the
particular case:

                      Potential Advantages                               Potential Disadvantages
                     • Saves time                                        • May take more time and money if ADR does not
                     • Saves money                                         resolve the dispute
                     • Gives parties more control over the dispute       • Procedures to learn about the other side's case (discovery),
                       resolution process and outcome                      jury trial, appeal, and other court protections may be limited
                     • Preserves or improves relationships                 or unavailable


Most Common Types of ADR
You can read more information about these ADR processes and watch videos that demonstrate them on the court's ADR
webpage at http://www.sdcourt.ca.gov/adr.

Mediation: A neutral person called a"mediator" helps the parties communicate in an effective and constructive manner
so they can try to settle their dispute. The mediator does not decide the outcome, but helps the parties to do so.
Mediation is usually confidential, and may be particularly useful when parties want or need to have an ongoing
relationship, such as in disputes between family members, neighbors, co-workers, or business partners, or when parties
want to discuss non-legal concerns or creative resolutions that could not be ordered at a trial.

Settlement Conference: A judge or another neutral person called a"settlement officer" helps the parties to understand
the strengths and weaknesses of their case and to discuss seftlement. The judge or seftlement officer does not make a
decision in the case but helps the parties to negotiate a settlement. Settlement conferences may be particularly helpful
when the parties have very different ideas about the likely outcome of a trial and would like an experienced neutral to help
guide them toward a resolution.

Arbitration: A neutral person called an "arbitrator" considers arguments and evidence presented by each side and then
decides the outcome of the dispute. Arbitration is less formal than a trial, and the rules of evidence are usually relaxed. If
the parties agree to binding arbitration, they waive their right to a trial and agree to accept the arbitrator's decision as final.
With nonbinding arbitration, any party may reject the arbitrator's decision and request a trial. Arbitration may be
appropriate when the parties want another person to decide the outcome of their dispute but would like to avoid the
formality, time, and expense of a trial.


SDSC CIV-730 (Rev 12-10)                     ALTERNATIVE DISPUTE RESOLUTION (ADR) INFORMATION                                        page. 1
   Case 3:22-cv-01302-RSH-DEB Document 1-2 Filed 09/01/22 PageID.24 Page 16 of 20


Other ADR Processes: There are several other types of ADR which are not offered through the court but which may be
obtained privately, including neutral evaluation, conciliation, fact finding, mini-trials, and summary jury trials. Sometimes
parties will try a combination of ADR processes. The important thing is to try to find the type or types of ADR that are
most likely to resolve your dispute. Be sure to learn about the rules of any ADR program and the qualifications of any
neutral you are considering, and about their fees.

Local ADR Proarams for Civil Cases

Mediation: The San Diego Superior Court maintains a Civil Mediation Panel of approved mediators who have met
certain minimum qualifications and have agreed to charge $150 per hour for each of the first two (2) hours of inediation
and their regular hourly rate thereafter in court-referred mediations.

On-line mediator search and selection: Go to the court's ADR webpage at www.sdcourt.ca.gov/adr and click on the
"Mediator Search" to review individual mediator profiles containing detailed information about each mediator including
their dispute resolution training, relevant experience, ADR specialty, education and employment history, mediation style,
and fees and to submit an on-line Mediator Selection Form (SDSC form #CIV-005). The Civil Mediation Panel List, the
Available Mediator List, individual Mediator Profiles, and Mediator Selection Form (CIV-005) can also be printed from the
court's ADR webpage and are available at the Mediation Program Office or Civil Business Office at each court location.

Settlement Conference: The judge may order your case to a mandatory settlement conference, or voluntary settlement
conferences may be requested from the court if the parties certify that: (1) settlement negotiations between the parties
have been pursued, demands and offers have been tendered in good faith, and resolution has failed; (2) a judicially
supervised settlement conference presents a substantial opportunity for settlement; and (3) the case has developed to a
point where all parties are legally and factually prepared to present the issues for settlement consideration and further
discovery for settlement purposes is not required. Refer to SDSC Local Rule 2.2.1 for more information. To schedule a
settlement conference, contact the department to which your case is assigned.

Arbitration: The San Diego Superior Court maintains a panel of approved judicial arbitrators who have practiced law for
a minimum of five years and who have a certain amount of trial and/or arbitration experience. Refer to SDSC Local
Rules Division II, Chaoter III and Code Civ. Proc. § 1141.10 et seg or contact the Arbitration Program Office at (619)
450-7300 for more information.

More information about court-connected ADR: Visit the court's ADR webpage at www.sdcourt.ca.gov/adr or contact the
court's Mediation/Arbitration Office at (619) 450-7300.

Dispute Resolution Programs Act (DRPA) funded ADR Programs: The following community dispute resolution
programs are funded under DRPA (Bus. and Prof. Code §§ 465 et seq.):
       •   In Central, East, and South San Diego County, contact the National Conflict Resolution Center (NCRC) at
           www.ncrconline.com or (619) 238-2400.
       •   In North San Diego County, contact North County Lifeline, Inc. at www.nclifeline.org or (760) 726-4900.

Private ADR: To find a private ADR program or neutral, search the Internet, your local telephone or business directory,
or legal newspaper for dispute resolution, mediation, settlement, or arbitration senrices.

Legal Representation and Advice

To participate effectively in ADR, it is generally important to understand your legal rights and responsibilities and the
likely outcomes if you went to trial. ADR neutrals are not allowed to represent or to give legal advice to the participants in
the ADR process. If you do not already have an attorney, the California State Bar or your local County Bar Association
can assist you in finding an attomey. Information about obtaining free and low cost legal assistance is also available on
the Califomia courts website at www.courtinfo.ca.gov/selfhelp/lowcost.




SDSC CIV-730 (Rev 12-10)
                           ALTERNATIVE DISPUTE RESOLUTION (ADR) INFORMATION                                            Page:2
   Case 3:22-cv-01302-RSH-DEB Document 1-2 Filed 09/01/22 PageID.25 Page 17 of 20


                                                                                                                              FOR COURT USE ONLY
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
  STREETADDRESS:             330 WeSt Broadway
  MAILINGADDRESS:            330 WeSt Broadway
  CITY, STATE, & ZIP CODE:   San Dlego, CA 92101-3827
  BRANCH NAME:               Central

I PLAINTIFF(S):        Helen Tesfa                                                                             I

  DEFENDANT(S): Amazon.com Inc

  SHORT TITLE:         TESFA VS AMAZON.COM INC [IMAGED]

                             STIPULATION TO USE ALTERNATIVE                                                        CASE NUMBER:

                                 DISPUTE RESOLUTION (ADR)                                                          37-2022-00018349-CU-PL-CTL

  Judge: Gregory W Pollack                                                                         Department: C-71

  The parties and their attorneys stipulate that the matter is at issue and the claims in this action shall be submitted to the following
  alternative dispute resolution (ADR) process. Selection of any of these options will not delay any case management timelines.

      ❑     Mediation (court-connected)                                  ❑   Non-binding private arbitration

      ❑     Mediation (private)                                          ❑   Binding private arbitration

      ❑     Voluntary settlement conference (private)                    ❑   Non-binding judicial arbitration (discovery until 15 days before trial)

      ❑     Neutral evaluation (private)                                 ❑   Non-binding judicial arbitration (discovery until 30 days before trial)

      ❑     Ofher (specify e.g., private mini-trial, private judge, etc.):




   It is also stipulated that the following shall serve as arbitrator, mediator or other neutral: (Name)




  Alternate neutral (for court Civil Mediation Program and arbitration only):


  Date:                                                                                    Date:




  Name of Plaintiff                                                                         Name of Defendant




  Signature                                                                                 Signature



  Name of Plaintiff's Attorney                                                              Name of Defendant's Attorney




  Signature                                                                                 Signature
  If there are more parties and/or attorneys, please attach additional completed and fully executed sheets.
  It is the duty of the Parties to notify the court of any settlement pursuant to Cal. Rules of Court, rule 3.1385. Upon notification of the settlement,
  the court will place this matter on a 45-day dismissal calendar.
  No new parties may be added without leave of court.
  IT IS SO ORDERED.

  Dated: 05/16/2022                                                                                        JUDGE OF THE SUPERIOR COURT

SDSC CIV-359 (Rev 12-10)                                                                                                                                   Page:1
                                       STIPULATION TO USE OF ALTERNATIVE DISPUTE RESOLUTION
         Case 3:22-cv-01302-RSH-DEB Document 1-2 Filed 09/01/22 PageID.26 Page 18 of 20
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Case 3:22-cv-01302-RSH-DEB Document 1-2 Filed 09/01/22 PageID.27 Page 19 of 20
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